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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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                                            ..........................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.                                                                                       15-cv-07433-RWS




                                                              ......
GHISLAINE MAXWELL,

        Defendant.


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 Declaration Of Laura A. Menninger In Support Of Defendant’s Response In Opposition
To Motion For Protective Order And Motion For the Court toDirect Defendant to Disclose
    All Individuals to Whom Defendant Has Disseminated Confidential Information

        I, Laura A. Menninger, declare as follows:

        1.       I am an attorney at law duly licensed in the State of New York and admitted to

practice in the United States District Court for the Southern District of New York. I am a

member of the law firm Haddon, Morgan & Foreman, P.C., counsel of record for Defendant

Ghislaine Maxwell (“Maxwell”) in this action. I respectfully submit this declaration in support of

Defendant’s Reponse in Opposition to Motion for Protective Order and Motion for the Court to

Direct Defendant to Disclose All Individuals Whom Defendant has Disseminated Confidential

Information.

        2.       Attached as Exhibit A is a true and correct copy of records from Royal Palm

Beach Police Department dated November 4, 1997, designated as Confidential by Plaintiff in this

case. Such Confidential designation has been challenged by the defense.

        3.       Attached as Exhibit B is a true and correct copy of records from Royal Palm

Beach Police Department dated January 29, 1998, designated as Confidential by Plaintiff in this

case. Such Confidential designation has been challenged by the defense.
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       4.      Attached as Exhibit C is a true and correct copy of records from Palm Beach

County Sheriff’s Office dated February 28, 1998, designated as Confidential by Plaintiff in this

case. Such Confidential designation has been challenged by the defense.

       5.      Attached as Exhibit D is a true and correct copy of records from Royal Palm

Beach County Police Department dated June 10, 2001, designated as Confidential by Plaintiff in

this case. Such Confidential designation has been challenged by the defense.

       6.      Attached as Exhibit E is a true and correct copy of records from Royal Palm

Beach Police Department dated August 3, 2001, designated as Confidential by Plaintiff in this

case. Such Confidential designation has been challenged by the defense.

       7.      Attached as Exhibit F is a true and correct copy of records from Greenacres

Department of Public Safety and Palm Beach County Criminal Court concerning events on

March 4, 2002, designated as Confidential by Plaintiff in this case. Such Confidential

designation has been challenged by the defense.

       8.      Attached as Exhibit G is a true and correct copy of records from Fremont County

(Colorado) Sherrif’s Office dated January 18 through January 22, 2015, and March 4, 2015 ,

designated as Confidential by Plaintiff in this case. Such Confidential designation has been

challenged by the defense.

Dated: August 18, 2016


                                            By: /s/ Laura A. Menninger
                                            Laura A. Menninger




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                                CERTIFICATE OF SERVICE

       I certify that on August 18, 2016, I electronically served this Declaration Of Laura A.
MenningerIn Support Of Defendant’s Defendant’s Reponse in Opposition to Motion for
Protective Order and Motion for the Court to Direct Defendant to Disclose All Individuals
Whom Defendant has Disseminated Confidential Information. via ECF on the following:

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                                                  /s/ Nicole Simmons




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